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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                            GALVESTON DIVISION

KIRBY INLAND MARINE, LP                      §      Civil Action No. 3:19-cv-00207
                                             §
Plaintiff,                                   §
                                             §
V.                                           §
                                             §
FPG SHIPHOLDING PANAMA 47                    §            Rule 9(h) Admiralty
S.A., K LINE ENERGY SHIP                     §                 Non-Jury
MANAGEMENT, and the VLGC                     §
GENESIS RIVER, in rem                        §
IN THE MATTER OF KIRBY                       §
INLAND MARINE, LP, in a cause                §
of exoneration from or limitation of         §
liability                                    §

                     NOTICE OF APPEARANCE OF JOHN R. THOMAS

        TO THE HONORABLE COURT:

        PLEASE TAKE NOTICE that the undersigned, John R. Thomas, of counsel with the law

firm of Brent Coon & Associates, files this Notice of Appearance to serve as counsel for all

clients listed on Exhibit A (Document 167-1) that was filed on August 23, 2019, and request

notice of all filings in this matter.


                                          Submitted by:

                                          Brent Coon & Associates
                                          /s/ John R. Thomas
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                                CERTIFICATE OF SERVICE

I Hereby Certify that on September 11, 2019 I electronically filed the foregoing document with
the Clerk of Court for the United States District Court for the Southern District of Texas via the
CM/ECF System, which provides notices to all counsel or records.

                                                    /s/ John R. Thomas
